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 4   Telephone: (916) 554-2790
 5
 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) CR S-08-00239 LKK
                                  )
12                    Plaintiff, ) STIPULATION AND ORDER
                                  ) RESETTING STATUS CONFERENCE,
13                v.              ) AND EXCLUDING TIME UNDER THE
                                  ) SPEEDY TRIAL ACT
14   RICKY WARE and               )
     CHRISTIAN ROBERSON,          )
15                                )
                      Defendants. )
16   _____________________________)
17
          The United States of America, through its counsels of record,
18
     McGregor W. Scott, United States Attorney for the Eastern District
19
     of California, and Jill M. Thomas, Assistant United States Attorney,
20
     defendant Ricky Ware, through his counsel of record, Danny Brace,
21
     Jr., and Christian Roberson, through her counsel of record, Mary
22
     French,   hereby stipulate and agree that the status conference set
23
     for August 19, 2008, be continued to September 3, 2008, at 9:30 a.m.
24
          The parties need additional time for preparation.          Therefore,
25
     the parties have agreed and respectfully request that the Court set
26
     the date of September 3, 2008, at 9:30 a.m., for the status
27
     conference.   Accordingly, the parties stipulate that time be
28

                                          1
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 1   excluded pursuant to    Local Code T4 - additional time to prepare.
 2   IT IS SO STIPULATED.
 3                                              McGREGOR W. SCOTT
                                                United States Attorney
 4
     Dated: August 7, 2008            By:       /s/ Jill M. Thomas
 5                                              JILL M. THOMAS
                                                Assistant U.S. Attorney
 6                                              Attorney for Plaintiff
 7
     DATED: August 7, 2008            By:       /s/ Mary M. French
 8                                              MARY M. FRENCH
                                                Attorney for Defendant
 9                                              CHRISTIAN ROBERSON
10
     DATED: August 7, 2008            By:       /s/ Danny D. Brace, Jr.
11                                              DANNY D. BRACE, JR.
                                                Attorney for Defendant
12                                              RICKY WARE
13   ________________________________________________________________
                                     ORDER
14
          UPON GOOD CAUSE SHOWN and by stipulation of all parties, it is
15
     hereby ordered that this matter be set for further status conference
16
     as set forth above.
17
          The Court finds excludable time as set forth above to and
18
     including September 3, 2008
19
          IT IS SO ORDERED.
20
     DATED: August 11, 2008
21
22
23
24
25
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                                            2
